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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                             :
STATE OF NEW YORK, et al.,                                                   :
                                                                             :
                                    Plaintiffs,                              :
                                                                             :    18-CV-2921 (JMF)
                  -v-                                                        :
                                                                             :   SCHEDULING ORDER
UNITED STATES DEPARTMENT OF COMMERCE, et al., :
                                                                             :
                                    Defendants.                              :
                                                                             :
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JESSE M. FURMAN, United States District Judge:

        As discussed on the record at the conference held this afternoon, Plaintiffs shall file any
motion for sanctions or other relief (including any request for discovery) and serve it on any
party against whom relief is sought by July 12, 2019. Any opposition — whether by Defendants
or by any non-party against whom relief is sought — shall be filed by July 26, 2019. Any reply
shall be filed by August 2, 2019. At the time any reply is served, Plaintiffs shall deliver or mail
one courtesy hard copy of all motion papers to the Court.

        The Clerk of Court is directed to terminate Docket No. 595.

        SO ORDERED.

Dated: June 5, 2019                                        __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
